                Case 1-21-41212-jmm                   Doc 32      Filed 06/01/22     Entered 06/01/22 07:05:03


 Information to identify the case:
 Debtor
                Cushnie, LLC                                                  EIN:   26−2273145
                Name

 United States Bankruptcy Court    Eastern District of New York               Date case filed for chapter:   7   5/3/21

 Case number:       1−21−41212−jmm


                                           NOTICE OF DISCOVERY OF ASSETS
NOTICE IS HEREBY GIVEN THAT:

It appeared from the schedules filed when the above case was initiated that there were no assets from which
dividends could be paid to creditors as indicated on the notice of meeting of creditors.

It now appears that payment of a dividend may be possible. Creditors must now file claims in order to share in any
distribution from the estate. Claims must be filed with the Clerk's Office at the location given below:
 UNITED STATES BANKRUPTCY COURT
 271−C Cadman Plaza East, Suite 1595
 Brooklyn, NY 11201−1800
Creditors who have previously filed a claim in this case need not file again. Claims must be filed on or before
August 30, 2022 .

A Proof of Claim form, "Official Form 410", can be obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any Bankruptcy Clerk's Office.

If you are an ECF account holder, proofs of claim may be filed over the Internet. If you are not a current ECF
account holder, you may file a proof of claim by going to the Court's website Electronic Filing of Proof of Claim
(ePOC) at http://www.nyeb.uscourts.gov/electronic−filing−proof−claim−epoc and select File a Claim (ePOC). This
application does not require a login and password. You can also file a proof of claim by CD−ROM/DVD or flash
drive and mail it to the address stated above.


 Dated: June 1, 2022


                                                                        For the Court, Robert A. Gavin, Jr., Clerk of Court




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